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 7

 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10

11                                            Case No.
     POUPAK BAREKAT, an individual,
12                                            Complaint For Damages And
13                    Plaintiff,              Injunctive Relief For:

14   v.                                        1. VIOLATIONS OF THE
15                                                AMERICANS WITH DISABILITIES
                                                  ACT OF 1990, 42 U.S.C. §12181 et
16   MARIPOSA VENTURES, LLC, a                    seq. as amended by the ADA
     Delaware limited liability company;          Amendments Act of 2008 (P.L. 110-
17
     and DOES 1-10, inclusive,                    325).
18

19                   Defendants.               2. VIOLATIONS OF THE UNRUH
                                                  CIVIL RIGHTS ACT, CALIFORNIA
20                                                CIVIL CODE § 51 et seq.
21

22         Plaintiff, POUPAK BAREKAT (“Plaintiff”), complains of Defendant
23   MARIPOSA VENTURES, LLC, a Delaware limited liability company; and Does 1-
24   10 (“Defendants”) and alleges as follows:
25                                          PARTIES
26         1.     Plaintiff is an adult California resident. Plaintiff is substantially limited
27   in performing one or more major life activities, including but not limited to:
28   walking, standing, ambulating, and sitting. As a result of these disabilities, Plaintiff

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 1   relies upon mobility devices, including at times a wheelchair, to ambulate. With
 2   such disabilities, Plaintiff qualifies as a member of a protected class under the
 3   Americans with Disabilities Act, 42 U.S.C. §12102(2) as amended by the ADA
 4   Amendments Act of 2008 (P.L. 110-325) (“ADA”) and the regulations
 5   implementing the ADA set forth at 28 C.F.R. §§ 36.101 et seq. At the time of
 6   Plaintiff’s visits to Defendants’ facility and prior to instituting this action, Plaintiff
 7   suffered from a “qualified disability” under the ADA, including those set forth in
 8   this paragraph. Plaintiff is also the holder of a Disabled Person Parking Placard.
 9          2.     Plaintiff is informed and believes and thereon alleges that Defendant
10   MARIPOSA VENTURES, LLC, a Delaware limited liability company, owned the
11   property located at 2051 N Euclid St., Fullerton, CA 92835 (“Property”) on or
12   around August 22, 2020 and October 24, 2020.
13          3.     Plaintiff is informed and believes and thereon alleges that Defendant
14   MARIPOSA VENTURES, LLC, a Delaware limited liability company, owns the
15   Property currently.
16          4.     Plaintiff does not know the true name of Defendant, its business
17   capacity, its ownership connection to the Property serving Distilled Liquor
18   (“Business”), or its relative responsibilities in causing the access violations herein
19   complained of. Plaintiff is informed and believes that each of the Defendants herein,
20   including Does 1 through 10, inclusive, is responsible in some capacity for the
21   events herein alleged, or is a necessary party for obtaining appropriate relief.
22   Plaintiff will seek leave to amend when the true names, capacities, connections, and
23   responsibilities of the Defendants and Does 1 through 10, inclusive, are ascertained.
24                               JURISDICTION AND VENUE
25          5.     This Court has subject matter jurisdiction over this action pursuant
26   to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the ADA.
27          6.     This court has supplemental jurisdiction over Plaintiff’s non-federal
28   claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s Unruh Civil Rights Act,
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 1   California Civil Code § 51 et seq., (“UCRA”) claims are so related to Plaintiff’s
 2   federal ADA claims in that they have the same nucleus of operative facts and
 3   arising out of the same transactions, they form part of the same case or controversy
 4   under Article III of the United States Constitution.
 5          7.     Venue is proper in this court pursuant to 28 U.S.C. §1391 because the
 6   real property which is the subject of this action is located in this district and because
 7   Plaintiff's causes of action arose in this district.
 8                                FACTUAL ALLEGATIONS
 9          8.     Plaintiff went to the Business on or about August 22, 2020 and October
10   24, 2020 for the dual purpose of purchasing a snack and a beverage and to confirm
11   that this public place of accommodation is accessible to persons with disabilities
12   within the meaning federal and state law.
13          9.     The Business is a facility open to the public, a place of public
14   accommodation, and a business establishment.
15          10.    Parking spaces are one of the facilities, privileges, and advantages
16   reserved by Defendants to persons at the Property serving the Business.
17          11.    Unfortunately, although parking spaces were one of the facilities
18   reserved for patrons, there were no designated parking spaces available for persons
19   with disabilities that complied with the 2010 Americans with Disabilities Act
20   Accessibility Guidelines (“ADAAG”) on August 22, 2020 and October 24, 2020.
21          12.    At that time, instead of having architectural barrier free facilities for
22   patrons with disabilities, Defendants have: a built up curb ramp that projects from
23   the sidewalk and into the access aisle (Section 406.5). Furthermore, the curb ramp is
24   in excess of the maximum grade allowed by ADAAG specifications (Section 406.1);
25   and, truncated domes in the accessible parking area that create slopes excessive of
26   the maximum allowed (Section 502.4).
27          13.    Subject to the reservation of rights to assert further violations of law
28   after a site inspection found infra, Plaintiff asserts there are additional ADA
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                                             COMPLAINT
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 1   violations which affect her personally.
 2          14.   Plaintiff is informed and believes and thereon alleges Defendants had
 3   no policy or plan in place to make sure that there was compliant accessible parking
 4   reserved for persons with disabilities prior to August 22, 2020 and October 24, 2020.
 5          15.   Plaintiff is informed and believes and thereon alleges Defendants have
 6   no policy or plan in place to make sure that the designated disabled parking for
 7   persons with disabilities comport with the ADAAG.
 8          16.   Plaintiff personally encountered these barriers. The presence of these
 9   barriers related to Plaintiff’s disability denies Plaintiff her right to enjoy accessible
10   conditions at public place of accommodation and invades legally cognizable
11   interests created under the ADA.
12          17.   The conditions identified supra in paragraph 12 are necessarily related
13   to Plaintiff’s legally recognized disability in that Plaintiff is substantially limited in
14   the major life activities of walking, standing, and ambulating; Plaintiff is the holder
15   of a disabled parking placard; and because the enumerated conditions relate to the
16   use of the accessible parking, relate to the slope and condition of the accessible
17   parking and accessible path to the accessible entrance, and relate to the proximity of
18   the accessible parking to the accessible entrance.
19          18.   As an individual with a mobility disability who relies upon a wheelchair
20   and other mobility devices, Plaintiff has a keen interest in whether public
21   accommodations have architectural barriers that impede full accessibility to those
22   accommodations by individuals with mobility impairments.
23          19.   Plaintiff is being deterred from patronizing the Business and its
24   accommodations on particular occasions, but intends to return to the Business for the
25   dual purpose of availing herself of the goods and services offered to the public and
26   to ensure that the Business ceases evading its responsibilities under federal and state
27   law.
28          20.   Upon being informed that the public place of accommodation has
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 1   become fully and equally accessible, she will return within 45 days as a “tester” for
 2   the purpose of confirming their accessibility. Civil Rights Educ. and Enforcement
 3   Center v. Hospitality Props. Trust, 867 F.3d 1093, 1096 (9th Cir. 2017).
 4          21.      As a result of her difficulty experienced because of the inaccessible
 5   condition of the facilities of the Business, Plaintiff was denied full and equal access
 6   to the Business and Property.
 7          22.      The Defendants have failed to maintain in working and useable
 8   conditions those features required to provide ready access to persons with
 9   disabilities.
10          23.      The U.S. Department of Justice has emphasized the importance of
11   enforcing laws that prohibit unlawful discriminatory behavior, especially in the era
12   of the COVID-19 emergency. See Statement by Assistant Attorney General for Civil
13   Rights Eric S. Dreiband Protecting Civil Rights While Responding to the
14   Coronavirus Disease 2019 (COVID-19) found at
15   https://www.ada.gov/aag_covid_statement.pdf.
16          24.      The violations identified above are easily removed without much
17   difficulty or expense. They are the types of barriers identified by the Department of
18   Justice as presumably readily achievable to remove and, in fact, these barriers are
19   readily achievable to remove. Moreover, there are numerous alternative
20   accommodations that could be made to provide a greater level of access if complete
21   removal were not achievable.
22          25.      Given the obvious and blatant violation alleged hereinabove, Plaintiff
23   alleges, on information and belief, that there are other violations and barriers in the
24   site that relate to her disability. Plaintiff will amend the complaint, to provide proper
25   notice regarding the scope of this lawsuit, once she conducts a site inspection.
26   However, the Defendants are on notice that the Plaintiff seeks to have all barriers
27   related to his disability remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008)
28   (holding that once a plaintiff encounters one barrier at a site, the plaintiff can sue to
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                                             COMPLAINT
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 1   have all barriers that relate to her disability removed regardless of whether she
 2   personally encountered them).
 3         26.    Without injunctive relief, Plaintiff will continue to be unable to fully
 4   access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
 5                               FIRST CAUSE OF ACTION
 6   VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
 7     42 U.S.C. § 12181 et seq. as amended by the ADA Amendments Act of 2008
 8                                        (P.L. 110-325)
 9         27.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
10   above and each and every other paragraph in this Complaint necessary or helpful to
11   state this cause of action as though fully set forth herein.
12         28.    Under the ADA, it is an act of discrimination to fail to ensure that the
13   privileges, advantages, accommodations, facilities, goods, and services of any place
14   of public accommodation are offered on a full and equal basis by anyone who owns,
15   leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
16   Discrimination is defined, inter alia, as follows:
17                a.     A failure to make reasonable modifications in policies, practices,
18                       or procedures, when such modifications are necessary to afford
19                       goods, services, facilities, privileges, advantages, or
20                       accommodations to individuals with disabilities, unless the
21                       accommodation would work a fundamental alteration of those
22                       services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
23                b.     A failure to remove architectural barriers where such removal is
24                       readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
25                       defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
26                       Appendix "D".
27                c.     A failure to make alterations in such a manner that, to the
28                       maximum extent feasible, the altered portions of the facility are
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 1                         readily accessible to and usable by individuals with disabilities,
 2                         including individuals who use wheelchairs, or to ensure that, to
 3                         the maximum extent feasible, the path of travel to the altered area
 4                         and the bathrooms, telephones, and drinking fountains serving
 5                         the area, are readily accessible to and usable by individuals with
 6                         disabilities. 42 U.S.C. § 12183(a)(2).
 7         29.       Any business that provides parking spaces must provide accessible
 8   parking spaces. 2010 Standards § 208. Under the 2010 Standards, access aisles
 9   shall be at the same level as the parking spaces they serve. Changes in level are not
10   permitted. 2010 Standards § 502.4. "Access aisles are required to be nearly level in
11   all directions to provide a surface for wheelchair transfer to and from vehicles." 2010
12   Standards § 502.4 Advisory. Here the failure to provide a level access aisle in the
13   designated disabled parking space is a violation of the law and excess slope angle in
14   the access pathway is a violation of the law.
15         30.       A public accommodation must maintain in operable working condition
16   those features of its facilities and equipment that are required to be readily accessible
17   to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
18         31.       Here, the failure to ensure that accessible facilities were available and
19   ready to be used by Plaintiff is a violation of law.
20         32.       Given its location and options, Plaintiff will continue to desire to
21   patronize the Business but she has been and will continue to be discriminated against
22   due to lack of accessible facilities and, therefore, seeks injunctive relief to remove
23   the barriers.
24                                SECOND CAUSE OF ACTION
25       VIOLATION OF THE UCRA, CALIFORNIA CIVIL CODE § 51 et seq.
26         33.       Plaintiff re-alleges and incorporates by reference all paragraphs alleged
27   above and each and every other paragraph in this Complaint necessary or helpful to
28   state this cause of action as though fully set forth herein.
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 1         34.    California Civil Code § 51 et seq. guarantees equal access for people
 2   with disabilities to the accommodations, advantages, facilities, privileges, and
 3   services of all business establishments of any kind whatsoever. Defendants are
 4   systematically violating the UCRA, Civil Code § 51 et seq.
 5         35.    Because Defendants violate Plaintiff’s rights under the ADA,
 6   Defendants also violated the UCRA and are liable for damages. (Civ. Code § 51(f),
 7   52(a).) These violations are ongoing.
 8         36.    Plaintiff is informed and believes and thereon alleges that Defendants’
 9   actions constitute discrimination against Plaintiff on the basis of a disability, in
10   violation of the UCRA, Civil Code § 51 et seq., because Defendants have been
11   previously put on actual or constructive notice that the Business is inaccessible to
12   Plaintiff. Despite this knowledge, Defendants maintain its premises in an
13   inaccessible form, and Defendants have failed to take actions to correct these
14   barriers.
15                                          PRAYER
16   WHEREFORE, Plaintiff prays that this court award damages provide relief as
17   follows:
18         1.     A preliminary and permanent injunction enjoining Defendants from
19   further violations of the ADA, 42 U.S.C. § 12181 et seq. as amended by the ADA
20   Amendments Act of 2008 (P.L. 110-325), and UCRA, Civil Code § 51 et seq. with
21   respect to its operation of the Business and Property; Note: Plaintiff is not invoking
22   section 55, et seq, of the California Civil Code and is not seeking injunctive relief
23   under the Disabled Persons Act (Cal. C.C. §54) at all.
24          2.    An award of actual damages and statutory damages of not less than
25   $4,000 per violation pursuant to § 52(a) of the California Civil Code;
26         3.     An additional award of $4,000.00 as deterrence damages for each
27   violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
28   LEXIS 150740 (USDC Cal, E.D. 2016); and,
                                                 8
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 1         4.     For reasonable attorneys' fees, litigation expenses, and costs of suit,
 2   pursuant to 42 U.S.C. § 12205; California Civil Code § 52.
 3

 4                               DEMAND FOR JURY TRIAL
 5         Plaintiff hereby respectfully requests a trial by jury on all appropriate issues
 6   raised in this Complaint.
 7

 8   Dated: December 9, 2020                MANNING LAW, APC
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10                                    By: /s/ Joseph R. Manning Jr., Esq.
                                         Joseph R. Manning Jr., Esq.
11                                       Attorney for Plaintiff
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